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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


INTERNATIONAL BROTHERHOOD OF
TEAMSTERS, AIRLINE DIVISION; and     Civil Action No. 1:19-CV-00651-RDM
AIRLINE PROFESSIONALS ASSOCIATION OF
THE INTERNATIONAL BROTHERHOOD OF
TEAMSTERS, LOCAL UNION NO. 1224,

                               Plaintiffs,
               v.

ATLAS AIR, INC. and POLAR AIR CARGO
WORLDWIDE, INC.,


                               Defendants.



     DEFENDANTS’ MOTION TO DISMISS PLAINTIFFS’ COMPLAINT UNDER
   RULES 12(B)(1) AND 12(B)(6) OF THE FEDERAL RULES OF CIVIL PROCEDURE

       Defendants Atlas Air, Inc. and Polar Air Cargo Worldwide, Inc. (collectively “Atlas”)

move pursuant to Rules 12(b)(1) and 12(b)(6) of the Federal Rules of Civil Procedure, to dismiss

with prejudice the complaint filed in this matter by Plaintiffs International Brotherhood of

Teamsters, Airline Division and Airline Professionals Association of the International

Brotherhood of Teamsters, Local Union No. 1224 (collectively, “IBT” or the “Union”). The

grounds for this Motion, as set forth more fully in the accompanying Memorandum of Points and

Authorities, are as follows:

       1. The Union’s claims for injunctive and declaratory relief should be dismissed under

           Federal Rule of Civil Procedure 12(b)(1) for lack of subject-matter jurisdiction

           because those claims require interpretation or application of the collective bargaining

           agreement between Atlas and IBT. Under the Railway Labor Act (“RLA”), 45

           U.S.C. §§ 151 et seq., such “minor disputes” are within the exclusive jurisdiction of a
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          System Board of Adjustment.

       2. The Union’s request for declaratory relief should also be dismissed because it

          improperly seeks to evade this Court’s November 30, 2017 injunction. The Court has

          prohibited the IBT from engaging in a strike and/or directing pilots to refuse

          voluntary work assignments that they have performed in the past in an effort to

          disrupt operations and to pressure Atlas in collective bargaining. Plaintiff’s requested

          declaratory relief would result in the very type of disruption to operations and

          commerce that this Court found to be a violation of Section 2, First of the RLA, and

          thus should not be permitted.

       3. Even if the Court were to find that it has jurisdiction over the Union’s claims for

          injunctive and declaratory relief, they should be dismissed under Rule 12(b)(6) for

          failing to state a plausible claim. The Union’s allegation that Atlas pilots are

          “required” or “forced” to perform maintenance-related engine starts is demonstrably

          false, as maintenance-related engine starts are completely voluntary and within a

          pilot’s discretion.

       4. The complaint further fails to state a claim under Rule 12(b)(6) because the Union

          cannot plausibly allege a change in the pilots’ status quo terms and conditions of

          employment and working conditions. The Union cannot support its allegation of a

          change in the status quo by showing that Atlas introduced a maintenance-related

          engine start procedure that is entirely voluntary.

       For the above reasons, Atlas respectfully submits that this Court should grant its Motion

and dismiss the Union’s Complaint with prejudice.




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Dated:   April 1, 2019              Respectfully submitted,
         Washington, D.C.

                                    By:     /s/ Robert A. Siegel
                                      Robert A. Siegel
                                      (D.C. Bar #1004474)
                                      Michael G. McGuinness
                                      (pro hac vice pending)

                                      O’MELVENY & MYERS LLP

                                      1625 Eye Street, NW
                                      Washington, D.C. 20006
                                      Telephone: (202) 383-5300
                                      Facsimile: (202) 383-5414
                                      rsiegel@omm.com

                                      400 South Hope Street
                                      Los Angeles, California 90071
                                      Telephone: (213) 430-6000
                                      Facsimile: (213) 430-6407
                                      mmcguinness@omm.com

                                      Attorneys for Defendants




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                                 CERTIFICATE OF SERVICE

       I hereby certify that, on April 1, 2019, I caused a copy of the foregoing Motion and its

attachments to be electronically filed via the Court’s ECF system. Notice of this filing will be

sent to all parties of record by operation of the Court’s electronic filing system.

                                                                      /s/ Robert A. Siegel
                                                                      Robert A. Siegel




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